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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION
LG ELECTRONICS INC. AND )
LG ELECTRONICS ALABAMA, INC., )
) CASE NO. 2021-CV-2600
Plaintiffs, )
) DECLARATION OF JUN LU IN
v. ) SUPPORT OF DEFENDANTS W&L
) TRADING LLC AND TOP PURE (USA),
THE PARTNERSHIPS AND ) INC.’s MOTION TO TRANSFER
UNINCORPORATED ASSOCIATIONS )
IDENTIFIED IN SCHEDULE A )
)
Defendants. )
I, Jun Lu, declare as follows:
Le This declaration is based on my personal knowledge of the facts stated herein or

on business records that were made at the time in the regular course of business. If called as a
witness, I could and would testify to the statements made herein.

a I am the CEO for Top Pure (USA) Inc. d/b/a as ICEPURE.

3. As shown on the California Secretary of State’s website
(https://businesssearch.sos.ca.gov), my company was registered in the state of California on
April 4, 2016. Top Pure’s principal address is 3717 SAN GABRIEL RIVER PARK WAY, #A,
PICO RIVERA, CA 90660.

4, Top Pure does not have any presence in the state of Illinois. Top pure does not
have any employees, salespeople, distributors, agents, bank accounts, or real estate in the state of
Illinois. Top Pure does not own, lease, or use any office located in the state of Illinois.

3, Top Pure sells its products through Amazon. Neither I nor anyone on my
company’s behalf has ever directed our promotions to target consumers in the state of Illinois.

To my knowledge, Amazon simply advertises and sells our products to anyone who wants to buy

them, wherever they are.
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6. Top pure does not represent in its promotional material or anywhere else that it

has a place of business located in Illinois.

bi I do not speak English but can read it with the aid of translation software. I

reviewed this declaration in this manner and with English-fluent colleagues.

I declare under penalty of perjury that the foregoing is true and accurate to the best of my

knowledge, information, and belief.

Signed: July 13 , 2021 By:__Jua F
